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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE: PHILIPS RECALLED CPAP,                 )
 BI-LEVEL PAP, AND MECHANICAL                  )        Master Docket: Misc. No. 21-1230
 VENTILATOR PRODUCTS                           )
 LIABILITY LITIGATION,                         )        MDL No. 3014
                                               )
 This Document Relates to:                     )
                                               )
 Personal Injury Claimants and Potential       )
 Claimants                                     )

      JOINT MOTION TO AMEND THE IDENTIFICATION ORDER DEADLINE

       In accordance with the terms of the Master Settlement Agreement (“MSA”), on May 9,

2024, the Court entered an Identification Order, ECF No. 2770, and set an Identification Order

Deadline of June 10, 2024. The Massachusetts Court subsequently entered an Identification Order

that set an Identification Order Deadline of June 21, 2024. To harmonize the two deadlines, the

Parties to the MSA have agreed to accept all Identification Order submissions from counsel for

Eligible Claimants submitted on or before June 21, 2024.

       Accordingly, the Parties jointly request the entry of the attached proposed Order amending

the Identification Order. The only change is to the Identification Order Deadline. The proposed

amended Identification Order is attached, and a redline showing the proposed changes is attached

as Exhibit A.

Dated: June 3, 2024                                Respectfully submitted,

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